Case 1:21-cv-00296-CMH-JFA Document 81 Filed 11/18/21 Page 1 of 5 PageID# 974




                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF VIRGINIA
                                ALEXANDRIA DIVISION


 COALITION FOR TJ,                                       No. 1:21-cv-00296-CMH-JFA

                                        Plaintiff,

                        v.

 FAIRFAX COUNTY SCHOOL BOARD,

                                      Defendant.



                                 PLAINTIFF’S WITNESS LIST
        Pursuant to Federal Rule of Civil Procedure 26(a)(3) and this Court’s Order (Dkt. No. 51),

Plaintiff Coalition for TJ, by counsel, respectfully submits the following witness list for trial.

   I.      Plaintiff’s Fact or Expert Witnesses Expected to be Called at Trial


 Name                              Address                                      Purpose

 Asra Nomani                       May be contacted only through counsel:       Fact
                                   Erin Wilcox
                                   Pacific Legal Foundation
                                   555 Capitol Mall, Ste. 1290
                                   Sacramento, CA 95814
 Glenn Miller                      May be contacted only through counsel:       Fact
                                   Erin Wilcox
                                   Pacific Legal Foundation
                                   555 Capitol Mall, Ste. 1290
                                   Sacramento, CA 95814
 Scott Brabrand                    Gatehouse Administration Center              Fact
                                   8115 Gatehouse Rd.
                                   Falls Church, VA 22042
 Jeremy Shughart                   Gatehouse Administration Center              Fact
                                   8115 Gatehouse Rd.
                                   Falls Church, VA 22042
 Ann Bonitatibus                   Gatehouse Administration Center              Fact
                                   8115 Gatehouse Rd.
                                   Falls Church, VA 22042


                                                     1
Case 1:21-cv-00296-CMH-JFA Document 81 Filed 11/18/21 Page 2 of 5 PageID# 975




 Karen Keys-Gamarra               Gatehouse Administration Center             Fact
                                  8115 Gatehouse Rd.
                                  Falls Church, VA 22042
 Abrar Omeish                     Gatehouse Administration Center             Fact
                                  8115 Gatehouse Rd.
                                  Falls Church, VA 22042
 Rachna Sizemore Heizer           Gatehouse Administration Center             Fact
                                  8115 Gatehouse Rd.
                                  Falls Church, VA 22042
 Megan McLaughlin                 Gatehouse Administration Center             Fact
                                  8115 Gatehouse Rd.
                                  Falls Church, VA 22042
 Elaine Tholen                    Gatehouse Administration Center             Fact
                                  8115 Gatehouse Rd.
                                  Falls Church, VA 22042
 Melanie Meren                    Gatehouse Administration Center             Fact
                                  8115 Gatehouse Rd.
                                  Falls Church, VA 22042
 Tamara Derenak Kaufax            Gatehouse Administration Center             Fact
                                  8115 Gatehouse Rd.
                                  Falls Church, VA 22042
 Ricardy Anderson                 Gatehouse Administration Center             Fact
                                  8115 Gatehouse Rd.
                                  Falls Church, VA 22042
 Karen Corbett Sanders            Gatehouse Administration Center             Fact
                                  8115 Gatehouse Rd.
                                  Falls Church, VA 22042
 Karl Frisch                      Gatehouse Administration Center             Fact
                                  8115 Gatehouse Rd.
                                  Falls Church, VA 22042
 Laura Jane Cohen                 Gatehouse Administration Center             Fact
                                  8115 Gatehouse Rd.
                                  Falls Church, VA 22042
 Stella Pekarsky                  Gatehouse Administration Center             Fact
                                  8115 Gatehouse Rd.
                                  Falls Church, VA 22042



       Plaintiff reserves the right to not call any of the above-mentioned witnesses at trial in the

interest of time, necessity, or other factors that may arise before or during trial. By identifying

witnesses above, Plaintiff does not agree to make a witness available for trial or to offer testimony

by deposition, if unavailable.



                                                 2
Case 1:21-cv-00296-CMH-JFA Document 81 Filed 11/18/21 Page 3 of 5 PageID# 976




          The order in which the witnesses are listed is not the order in which witnesses will be called

at trial. Plaintiff will work with Defendant to agree to procedures for providing advance notice of

the order of witnesses.

   II.       Plaintiff’s Fact Witnesses to be Offered by Deposition Testimony


 Fairfax County School Board         Gatehouse Administration          Fact
                                     Center
                                     8115 Gatehouse Rd.
                                     Falls Church, VA 22042




   III.      Plaintiff’s Fact or Expert Witnesses that May be Called at Trial, If the Need
             Arises

 Himanshu Verma                      May be contacted only through counsel:      Fact
                                     Erin Wilcox
                                     Pacific Legal Foundation
                                     555 Capitol Mall, Ste. 1290
                                     Sacramento, CA 95814
 Harry Jackson                       May be contacted only through counsel:      Fact
                                     Erin Wilcox
                                     Pacific Legal Foundation
                                     555 Capitol Mall, Ste. 1290
                                     Sacramento, CA 95814
 Ying McCaskill                      May be contacted only through counsel:      Fact
                                     Erin Wilcox
                                     Pacific Legal Foundation
                                     555 Capitol Mall, Ste. 1290
                                     Sacramento, CA 95814
 Dipika Gupta                        May be contacted only through counsel:      Fact
                                     Erin Wilcox
                                     Pacific Legal Foundation
                                     555 Capitol Mall, Ste. 1290
                                     Sacramento, CA 95814




                                                    3
Case 1:21-cv-00296-CMH-JFA Document 81 Filed 11/18/21 Page 4 of 5 PageID# 977




       Plaintiff reserves the right to call other witnesses, either live or by deposition or by previous

trial testimony, for the purpose of impeachment, rebuttal, or any other purpose the law allows, and

to call or examine witnesses identified by Defendant.

       Plaintiff’s Witness List is based on evidence, including documents and testimony, that have

been made available by Defendant up to the date of this filing. To the extent Defendant has

withheld or otherwise failed to produce non-privileged, responsive documents, or deponents have

refused to provide testimony regarding discoverable, non-privileged information, Plaintiff reserves

the right to call as witnesses individuals whose identity or relevance to the matters in dispute

become apparent from any such late-provided information.

       Dated: November 18, 2021.
                                                       Respectfully submitted,

                                                       s/ Alison E. Somin
       ERIN E. WILCOX*,                                ALISON E. SOMIN, Va. Bar No. 79027
        Cal. Bar No. 337427                            Pacific Legal Foundation
       CHRISTOPHER M. KIESER*,                         3100 Clarendon Blvd., Suite 610
        Cal. Bar No. 298486                            Arlington, Virginia 22201
       Pacific Legal Foundation                        Telephone: (202) 557-0202
       930 G Street                                    Facsimile: (916) 419-7747
       Sacramento, California 95814                    ASomin@pacificlegal.org
       Telephone: (916) 419-7111
       Facsimile: (916) 419-7747                       GLENN E. ROPER*,
       EWilcox@pacificlegal.org                        Colo. Bar No. 38723
       CKieser@pacificlegal.org                        Pacific Legal Foundation
                                                       1745 Shea Center Dr., Suite 400
       *Pro Hac Vice                                   Highlands Ranch, Colorado 80129
                                                       Telephone: (916) 503-9045
                                                       Facsimile: (916) 419-7747
                                                       GERoper@pacificlegal.org
                                      Counsel for Plaintiff




                                                  4
Case 1:21-cv-00296-CMH-JFA Document 81 Filed 11/18/21 Page 5 of 5 PageID# 978




                                CERTIFICATE OF SERVICE

       I hereby certify that on the 18th day of November, 2021, I electronically filed the foregoing

with the Clerk of Court using the CM/ECF system. Counsel for Defendant are registered with the

Court’s CM/ECF system and will receive a notification of such filing via the Court’s electronic

filing system.



                                                     s/ Alison E. Somin
                                                     ALISON E. SOMIN, Va. Bar No. 79027
                                                     Pacific Legal Foundation
                                                     3100 Clarendon Blvd., Suite 610
                                                     Arlington, Virginia 22201
                                                     Telephone: (202) 557-0202
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                                                     Counsel for Plaintiff




                                                5
